Case 3:20-cv-00098-REP Document 237 Filed 05/05/20 Page 1 of 2 PageID# 4678




                      UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF VIRGINIA
                               RICHMOND DIVISION



 STEVES AND SONS,INC.,

                      Plaintiff,
                                                        Civil Action No. 3:20-cv-98
 V.



 JELD-WEN, INC.,

                      Defendant.




                                             ORDER


        Having considered    Defendant JELD-WEN INC.'S          MEMORANDUM REGARDING

 CURRENT DISCOVERY AND SCHEDULING DISPUTES (ECF No. 199); Plaintiff STEVES

 AND SONS, INC.'S SUBMISSION REGARDING DISCOVERY DISPUTES (ECF No. 200);

 JELD-WEN'S RESPONSE TO STEVES' MEMORANDUM REGARDING DISCOVERY AND


 SCHEDULING       DISPUTES (ECF        No. 210); STEVES' RESPONSE TO JELD-WEN'S

 MEMORANDUM REGARDING CURRENT DISCOVERY AND SCHEDULING DISPUTES


 (ECF No. 211); and the parties' arguments presented at the telephonic hearing held on April 27,

 2020, it is hereby ORDERED:

        (1)    JELD-WEN's objection to Steves' Request for Production 43 is SUSTAINED IN

 PART and OVERRULED IN PART. JELD-WEN shall produce unredacted versions of pages 24

 through 26 of ECF 197 from the Grubb Lumber docket.           Should JELD-WEN be required to

 seek amendment of the Grubb Lumber protective order before some part of that material can

 be provided to Plaintiffs, JELD-WEN shall raise the issue with Judge Gibney no later than Monday,
Case 3:20-cv-00098-REP Document 237 Filed 05/05/20 Page 2 of 2 PageID# 4679
